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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 www.flsb.uscourts.gov

IN RE:                                              CASE NO.: 21-12374- RAM
                                                    Chapter 11
AVENTURA HOTEL PROPERTIES, LLC,
TRIPTYCH MIAMI HOLDINGS, LLC,

      Debtor.
___________________________________/

                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY

                Any interested party who fails to file and serve a written
                response to this Motion within 14 days after the date of service
                stated in this Motion shall, pursuant to Local Rule 4001-1(C),
                be deemed to have consented to the entry of an order granting
                the relief requested in the Motion.

         COMES NOW, MIGUEL SIERRALTA (hereinafter referred to as “Movant”) by and

through his undersigned counsel, and hereby moves the Court pursuant to Federal Rules of

Bankruptcy Procedure 4001-1(C) to lift the automatic stay imposed by 11 U.S.C. Section 362(a)

under 11 U.S.C. Section 362(d)(2), and in support of his motion states:

         1.     The Debtors filed for relief under Chapter 11 of the Bankruptcy Code on March

12, 2021.

         2.     The Court has jurisdiction of this matter pursuant to 28 U.S.C. Section

157(b)(2)(G).

         3.     Movant, Miguel Sierralta, an individual, is the Plaintiff in the matter Miguel

Sierralta vs. Jesus Alberto Abilahoud, et al., Case No. 2020-10341-CA-01, which was filed on

May 13, 2020 in the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade

County, Florida (the “State Action”).
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       4.       The Defendants in the State Action are Alberto Abilahoud (“Abilahoud”), an

individual, Town Arts Properties, LLC, a Florida limited liability company (“Town

Arts”)(Abilahoud and Town Arts are referred together as the “Defaulting Defendants”), Hes

Triptych Holding, LLC ("HES”), Triptych Miami Holdings, LLC ("Triptych Miami"), and

Aventura Hotel Properties, LLC ("Aventura")( Triptych Miami and Aventura are referred

together as the “Debtors”).

       5.       The Movant’s Complain in the State Action contains three (3) Counts, one for

breach of promissory note against the Defaulting Defendants (Count I), one for foreclosure of

security agreement against the Defaulting Defendants (Count II), and one for a temporary

injunction against HES and the Debtors (Count III) (See State Action’s Complaint attached as

exhibit “A”).

       6.        Count I and II of the State Action’s Complaint are predicated on the Defaulting

Defendants’ breach under certain Balloon Promissory Note (the "Note") and to foreclosure a

Security Agreement/Chattel Mortgage (‘Chattel Mortgage”) securing the debt under the Note.

       7.       The Chattel Mortgage granted a security interest to Movant over the 28.4%

Membership Interest that Town Arts holds in HES (the “Collateral”).

       8.       HES holds 100% of the membership interest of Triptych Miami. This membership

interest is HES’s only substantial asset.

       9.       Triptych Miami holds 100% of the membership interest of Aventura. This

membership is Triptych Miami’s only substantial asset. Aventura owns several real estate

properties in Miami-Dade County (the “Lots”).

       10.      Abilahoud is the co-manager of Triptych and Aventura and an authorized member

of HES.
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        11.     To protect his interest in the Collateral, Movant also petitioned for a temporary

injunction against the HES and the Debtors in Count III of the State Action’s Complaint. The

temporary injunction simply seeks an order from the Court enjoining HES and the Debtors to

keep Movant informed prior to, during and after any disposition or encumbrance of their

membership interest and/or the Lots.

        12.     The relief requested in the State Action against the Debtors is not to collect a debt

against the Debtors and would not interfere with this bankruptcy case or prejudice any other

creditor of the Estate.

        13.     The Movant seeks to lift the automatic stay imposed by 11 U.S.C. Section 362(a)

to continue his prosecution of his claims pursuant in the State Action.

        14.     11 U.S. Code § 362 (d)(1) provides that stay relief may be granted for cause.

Bankruptcy Courts in the Southern District of Florida look to the totality of the circumstances in

determining whether cause exists to lift the automatic stay. E.g., In re Bryan Road, LLC, 382

B.R. 844, 854-55 (Bankr. S.D. Fla. 2008). The pursuit of pending, pre-petition litigation may

constitute "cause" under section 362(d)(1) of the Code. In re Murray Indus., Inc., 121 B.R. 635,

637 (Bankr. M.D. Fla. 1990).

        15.     Bankruptcy Courts have looked to the twelve factors set forth in In re Sonnax

Indus., Inc., 907 F.2d 1280, 1286 (2d Cir. 1990) to assist in determining whether cause exists to

lift the automatic stay to allow a party to pursue pending litigation outside of the Bankruptcy

Court, including Bankruptcy Courts in Florida. See, e.g., In re Beane, 404 B.R. 942, 948 (Bankr.

M.D. Fla. 2008).

        16.     The relevant Sonnax factors to consider in this case are: (a) the lack of any

connection with or interference with the bankruptcy case; (b) whether litigation in another forum
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would prejudice the interests of other creditors, the creditors’ committee and other interested

parties; and (c) the impact of the stay on the parties and the “balance of hurt.” Sonnax, 907 F.2d

at 1286.

       17.     With the State Action, Movant does not intend to seize property, collect money,

or by any means affect the Debtors’ assets or business.

       18.     Therefore, relief of the temporary injunction in favor of Movant will not interfere

with the bankruptcy case, or prejudice the interests of other creditors, the creditors' committee, or

any other interested parties.

       19.     Similarly, the "balance of hurt" factor also supports granting of this Motion. The

Debtors, HES or any other interested party will not suffer any hardship should the State Court

orders the Debtors to keep Movant informed of any disposition or encumbrance of any of their

membership interest or the Lots.

       20.     In this instance, consideration of the totality of the circumstances and all of the

Sonnax factors warrant entry of an order lifting the automatic stay and allowing the State Court

to proceed on the merits.

       21.     The injunction sought aims to prevent the Defaulting Defendants, HES and the

Debtors from taking any actions that could diminish the value of the Collateral without affording

Movant prior notice.

       22.     Based on the foregoing, cause exists to lift the automatic stay to allow the Movant

to continue prosecuting the State Action.

       WHEREFORE, the Movant, MIGUEL SIERRALTA, respectfully requests that this

Court enters an Order granting relief from the automatic stay to allow Movant to prosecute his

claims against the Defaulting Defendants and obtain injunctive relief enjoining the Debtors to
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keep Movant informing of any transactions involving the sale, conveyance, encumbrance,

disposition or transferring of the Lots, and any other further relief this Court deems just and

proper.

                                 CERTIFICATE OF SERVICE

          I hereby certify that on this May 11, 2021, a true and correct copy of the forgoing

Movant’s Motion for Relief from the Automatic Stay was served via CM/ECF system to all

counsels of record as indicated in the attached service list.

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                                      SERVICE LIST

Served Via CM/ECF System

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              EXHIBIT “A”
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